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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


                                                      Case No. 8:15-cv-840-T-35AEP

ROSEANN MICHELLE GILL, as Parent and
Next Friend ofK.C.R., a minor,

          Plaintiff,

vs.

GRADY JUDD, in his Official Capacity
as the Sheriff of Polk County;
GRADY JUDD, individually; and
JONATHAN MCKINNEY, individually,

          Defendants.
______________________________!

                 AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW, Plaintiff, ROSEANN MICHELLE GILL, as Parent and Next Friend of

K.C.R. (hereinafter referred to as "Plaintiff' and/or "K.C.R."), by and tlu·ough her undersigned

counsel, and sues Defendants, GRADY JUDD, in his official capacity as the Sheriff of Polk

County (hereinafter referred to as "PCSO"), GRADY JUDD, individually (hereinafter referred to

as "Judd"), and JONATHAN MCKINNEY, individually (hereinafter refened to "McKinney")

(all Defendants are hereinafter collectively referred to as "Defendants"), and seeks damages

against Defendants and a declaration that Defendants have violated Plaintiffs civil rights and for

further relief as this Court deems just and proper, and states as follows:




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                                          INTRODUCTION

          This case stems from an effort by Defendants to use the tragic death of a young girl that

committed suicide on September 9, 2013 as an opportunity for media attention and self-

aggrandizement. Without any factual or legal basis, Defendants charged Plaintiff K.C.R., then a

12-year-old girl, with felony aggravated stalking, pursuant to Florida Statutes Section

784.048(5), and labeled her a cyber-bully in the national media, after blaming her for the

apparent suicide.       Although the charges were unsubstantiated and ultimately dropped, the

incident left Plaintiff devastated and irreparably damaged.

                                               PARTIES

          1.       Plaintiff K.C.R. is a resident of Polk County, Florida and at the time of the event

was a twelve (12) year old minor.

          2.       Judd at all material times hereto was the Sheriff of Polk County, Florida. Judd is

being sued in his individual capacity and, as set forth below, is also being sued in his official

capacity as the Sheriff of Polk County.

          3.       McKinney at all material times was a Deputy with the PCSO. McKinney is being

sued in his individual capacity.

          4.       Grady Judd as Sheriff of the Polk County Sheriffs Office is being sued in his

official capacity ("PCSO"). As referred to above in paragraph 2, the Sheriff, Judd, is also being

sued in his individual capacity.

                                    VENUE AND JURISDICTION

              5.   This action is proper in the Federal Court for the Middle District of Florida,

Tampa Division, as all acts material to this cause of action occurred in Polk County, Florida, and

this is where the cause of action accrued.




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          6.          This is a claim for damages and declaratory judgment.

          7.          Jurisdiction is conferred with this Court by 28 U.S.C. §1331, to decide cases

presenting a question arising under the Constitution and laws of the United States, and by 28

U.S.C. §!343(a)(3)(4), to redress the deprivation, under color of law, of any right, privilege or

immunity secured by the United States Constitution. Declaratory and further relief is available

pursuant to 28 U.S.C. § 220! & 2202.

          8.          Pursuant to §768.28(6)(a), Florida Statutes, Plaintiff has notified Defendant PCSO

of her claims six (6) months or more prior to the filing of this action, and said claims were not

resolved.           Plaintiff has fully complied with §768.28(6)(a), including providing notice and

service, if applicable, to the Florida Department of Financial Services.

          9.          All conditions precedent to the filing of this action have occurred, accrued or been

waived as a matter of law.

                                     BACKGROUND ALLEGATIONS

              10.     On September 9, 20!3 a twelve (12) year old minor apparently jumped off a silo

at an abandoned cement plant in Lakeland, Florida. The tragic event was reported by PCSO as a

suicide.

              II.     The Sheriff of Polk County at all material times herein was Judd, who was the

final policy maker for PCSO. As of the time of filing of this lawsuit Defendant, Judd appeared

on numerous radio shows, television shows and held press conferences relating to the suicide of

the minor child.

              12.     Thereafter in what can only be described as a "witch hunt," the PCSO, at the

direction of Defendant Judd, commenced an investigation into the death of this minor child.




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              13.   The investigation began more as publicity stunt than an actual law enforcement

activity so that Defendant, Judd and PCSO could publicize their attempt to stamp out "cyber

bullies". Filing baseless criminal charges and then grandstanding for the media is consistent with

Judd's established practice of capitalizing on tragic events or criminal activity for his own

publicfty and self-aggrandizement. The existence of Judd's established practice has been well

publicized during his tenure in office. 1

              14.   The investigation that was directed by Defendant Judd, focused on other minor

children that at some point had either attended school with the minor who committed suicide or

had any contact at all with that individual.

              15.   Defendant McKinney was the primary deputy involved in the investigation at the

request of Defendant Judd and PCSO.

              16.   On or about October 14, 2013, a law enforcement officer employed by PCSO, at

the direction of Defendant Judd, Defendant McKinney arrested Plaintiff K.C.R., without a

warrant, on the felony charge of Aggravated Stalking of a Minor Under 16 Years of Age at her

home in Lakeland, Florida. Defendant Judd as the final policy maker for Defendant PCSO was

involved with and assisted in and directed the arrest of Plaintiff.

              17.   Subsequent to the arrest ofPlaintiffK.C.R., Defendant Judd and Defendant PCSO

released Plaintiff K.C.R. 's personal information, including her full name and mugshot, at a press

conference conducted on or about October, 2013.



              1
          See, Jeff Gore, Church and State: Polk County Sherif! Grady Judd's missionfi·om God
to eliminate obscenity knows no bounds, OrlandoWeekly.com, Feb. 24,2011, available at:
http://orlandoweekly.com/news/church-and-state-1.11 09454; Michael Kruse, Polk Sheriff Grady
Judd makes his name on moral outrage, Tampa Bay Times, Feb. 4, 2011, available at:
http://www.tampabay.com/news/publicsafety/polk-sheritf.grady-judd-makes-his-name-on-
moral-outrage/1149570.



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          18.       Thereafter, Defendant Judd and Defendant PCSO continued to conduct several

news conferences and interviews regarding the arrest.

          19.       During the news conferences, Defendant Judd falsely accused Plaintiff, K.C.R.,. of

being responsible for the tragic suicide of a former classmate.

          20.       During the news conferences, Defendant PCSO, through Defendant Judd stated

that Plaintiff, K.C.R. was a "felon", "harasser", "stalker" and "a person that tormented the

victim".

          21.       Thereafter, Defendant Judd made appearances on several local and national news

programs, repeating the above-referenced statements and portraying Plaintiff as the poster child

example of a cyber-bully.

          22.       The charges against Plaintiff, K.C.R. were felony charges which authorized the

release of juvenile arrest information to the public.

          23.       Defendant PCSO, through Defendant Judd, distributed photographs of Plaintiff,

K.C.R.'s name and mug shot to national news media.

          24.       At this time Defendant PCSO had admitted that the investigation was not

complete and that it had not been able to obtain any actual text messages between Plaintiff,

K.C.R. and the alleged victim. Nevertheless, Defendant PCSO arrested Plaintiff, K.C.R. without

any evidence of text messages.

          25.       Defendant McKinney, under the direction of Defendant Judd and Defendant

PCSO, in an attempt to provide some purported justification for the arrest of Plaintiff, K.C.R.

provided an arrest affidavit ("Affidavit"). The Affidavit is attached hereto as Exhibit "A".

              26.   The Affidavit states the date/time of arrest/incident occurred on October 14, 2013

at 15:59:00.




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          27.       The Affidavit swears that McKinney had reasonable grounds to believe that on

October 14, 2013 at 13:59 Plaintiff K.C.R. committed the offense of aggravated stalking of

minor in violation of§ 748.048(5).

          28.       The Affidavit also states that the arrest was a result of the Defendant PCSO death

investigation of the minor child that committed suicide by jumping from a concrete silo tower to

her death.

          29.       Conspicuously absent from the Affidavit is the date when the alleged death took

place, which was September 9, 2013.

          30.       No attempt at an explanation is made in the Affidavit to explain how Plaintiff

K.C.R. could have committed a crime on the date of October 14, 2013 when the alleged death

had occurred September 9, 2013 approximately a month earlier.

          31.       The crime for which Plaintiff was charged was aggravated stalking pursuant to

Florida Statute § 784.048(5) which states:

                    Any person who willfully, maliciously, and repeatedly follows,
                    harasses, or cyberstalks a minor under 16 years of age commits the
                    offense of aggravated stalking .....

              32.   There was zero evidence of K.C.R. following or cyberstalking a minor. That

leaves only repeated harassment as possible basis for a charge. Florida Statutes 784.048(l)(a)

defines "Harass" to mean to engage in a course of conduct directed at a specific person that

causes substantial emotional distress in such person and serves no legitimate purpose.

Constitutionally protected activity cannot form the basis of the crime.

              33.   The Affidavit executed by Defendant McKinney does not establish probable

cause or arguable probable cause that Plaintiff violated 784.048(5) as to the minor that

committed suicide on September 9, 2013.




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               34.   In fact the Affidavit contradicts itself, even assuming it is true. Pursuant to the

Affidavit no contact between the Plaintiff and other minor had occurred for more than seven

months prior to September 9, 2013 when they went to school together in the sixth grade.

               35.   Defendant McKinney makes a conclusory statement in the Affidavit that "It has

been determined that through the investigation .... that the malicious harassment ... perpetrated

by ..... was a contributing factor in ..... decision to commit suicide".         This is a preposterous

conclusion without any factual basis.

               36.   The Affidavit, even if true, does not suppott the elements of a crime of aggravated

stalking. At best the Affidavit shows that the minors were involved in a fight seven months

earlier at school.         However, even the description of the fight was deliberately false and

misleading.

               37.   A few comments, even assuming they are true, from former sixth graders saying

there was name calling on several occasions and conclusory statements, with no supporting facts,

of "bullying" is not sufficient to establish probable cause or arguable probable cause that

Plaintiff committed the crime of aggravated stalking that allegedly contributed to a death seven

months later.

               38.   There are no factual allegations in the Affidavit to support a conclusion that

anybody suffered substantial emotional distress because of any acts of Plaintiff, which is a

material element of the crime.

               39.   Defendants in this case did not seek an independent judicial review of the

allegations to obtain an arrest warrant.

               40.   There is simply nothing in the Affidavit that ties Plaintiff to conduct which Jed to

the death of another.




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          41.       Even if the contents of the Affidavit were true, there is no probable cause or

arguable probable cause. Nevertheless there are material misstatements and omissions in the

Affidavit.

          42.       Defendant McKinney maliciously, deliberately, or with a reckless disregard for

the truth, made material false statements in the Affidavit and omitted the key fact that Plaintiff

had no substantial contact with the minor for more than seven months prior to the suicide.

Defendant McKinney further omitted that there was no evidence of text messages or postings on

social media and omitted that there was no credible or substantial evidence of harassment.

          43.       Defendant McKinney maliciously, deliberately, and with a reckless disregard for

the truth interviewed four minors and coerced, deliberately misconstrued, or falsified statements

and used conclusory summaries to attempt to support the theory that Plaintiff was bullying.

          44.       Defendant McKinney maliciously, deliberately, and with a reckless disregard for

the truth stated Plaintiff confessed to bullying and that Plaintiff pmiicipated in a pattern of

conduct with the purpose of maliciously harassing the victim.

              45.   Further, Defendant McKinney maliciously, deliberately, and with a reckless

disregard for the truth, falsely swore under oath that it was determined that malicious harassment

was a contributing factor in the victim's decision to commit suicide.

              46.   The Affidavit was made maliciously, deliberately, and with reckless disregard of

the truth created to justify an arrest using nothing but conclusory statements. The Affidavit was

inconsistent and contrary to Defendant PSCO's investigative findings.

              47.   No reasonable officer could have believed that probable cause or arguable

probable cause existed for the arrest of Plaintiff.




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          48.       Defendant McKinney's Affidavit was so lacking in indicia of probable cause that

only a plainly incompetent officer would have made the arrest.

          49.       In reality, Plaintiff K.C.R. had no substantial interaction with the alleged victim

for nearly a year preceding the suicide while she was attending middle school with the victim

and the interaction was not bullying. Further, Plaintiff K.C.R. never confessed to bullying the

victim.

          50.       After an investigation by the State Attorney's Office and review of the alleged

evidence of the investigation conducted by the PCSO, the State Attorney's Office determined

that there was no evidence to support any criminal charges against PlaintiffK.C.R.

          51.       In November 2013, approximately one month after Plaintiff K.C.R. had been

arrested, charged, and vilified by Defendants, all charges against Plaintiff K.C.R. were

dismissed.

                    COUNT I- FALSE ARREST/FALSE IMPRISONMENT (PCSO)

              COMES NOW, PlaintiffROSEANN GILL, as Parent and Next Friend ofK.C.R., by and

through her undersigned counsel, and sues Defendant, POLK COUNTY SHERIFF'S OFFICE

(hereinafter referred to as "PCSO") for damages and for such further relief as this Cout1 deems

just and proper and states as follows:

              52.   This is a cause of action for false arrest/false imprisonment and detention against

the PCSO for damages in excess of Fifteen Thousand and 00/100 Dollars ($15,000.00).

              53.   Plaintiff realleges the allegations contained in paragraphs 1 and 4 through 51

above as if fully set forth herein.




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           54.       On or about October 14, 2013, the PCSO, through its employees and agents acting

 in accordance with the scope of their duties as law enforcement officers caused Plaintiff to be

 deprived of her freedom and liberty and restrained her in her movements at the scene of the

 arrest and detention and continued until she was released from custody.

           55.       Plaintiff did not consent to the aforementioned actions of PCSO, its employees

 and agents and the actions were against the will of Plaintiff.

           56.       The restraint of Plaintiff by PCSO through its employees and agents acting in the

 course and scope of their duties as law enforcement officers was unlawful.

           57.       As a direct and proximate result of PCSO's actions through its employees and

 agents for which the PCSO is responsible, Plaintiff has suffered damages, which include physical

 inconvenience, physical discomfott and pain, physical suffering, loss of time, mental suffering,

 embarrassment, humiliation, disgrace and injury to her feelings and reputation, physical and

 emotion aspects which are continuing to this day and are likely to continue in the future.

           WHEREFORE, for the foregoing reasons, Plaintiff, ROSEANN GILL, as Parent and

 Next Friend of K.C.R., respectfully requests this Comt to enter Judgment against Defendant,

 POLK COUNTY SHERIFF'S OFFICE, for damages caused and for such further relief as this

 Court deems just and proper.

                   COUNT II- FALSE ARREST/FALSE IMPRISONMENT (JUDD)

               COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend ofK.C.R., by and

 through her undersigned counsel, and sues Defendant, GRADY JUDD, individually (hereinafter

 referred to as "Judd"), and herein seeks damages and for any other and further relief as this Court

 deems just and proper, and states as follows:




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           58.       This is a cause of action for false arrest/false imprisonment and detention against

Judd for damages in excess of Fifteen Thousand and 00/100 Dollars ($15,000.00).

           59.       Plaintiff realleges the allegations contained in paragraphs I, 2, 5, 6, 7, and 9

 through 51 as if fully set forth herein.

           60.       On or about October 14, 2013, Judd caused Plaintiff to be deprived of her

 freedom and liberty and restrained in her movements at the scene of her arrest and detention and

 continuing until she was released from custody.

           61.       The restraint of Plaintiff was caused by Judd and was unlawful.

           62.       As a direct and proximate cause of Judd's actions, Plaintiff was illegally detained

 and arrested and was forced to be incarcerated and suffered all consequences of the wrongful

 arrest.

           63.       As a direct result of Judd's actions, Plaintiff has suffered damages. As a direct

 result of said arrest, Plaintiff has suffered damages which include physical suffering, physical

 inconvenience, physical discomfort and pain, loss of time, mental suffering, embarrassment,

 humiliation, disgrace and injury to her feelings and reputation, the emotional and physical

 aspects of which are continuing to this day and are likely to continue into the future.

               64.   The actions of Judd were done in bad faith, with malice and in reckless disregard

 for the rights of Plaintiff.

               WHEREFORE, for the foregoing reasons, Plaintiff, ROSEANN GILL, as Parent and

 Next Friend of K.C.R., respectfully requests this Court to enter Judgment against Defendant

 GRADY JUDD, individually, and award compensatory damages, court costs, and such other

 further relief as this Comi deems just and proper under the circumstances. Fmiher, Plaintiff,

 ROSEANN GILL, as Parent and Next Friend of KATEL YN CANDICE K.C.R., seeks an award




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 of punitive damages to punish Defendant, GRADY JUDD, individually, for his conduct, which

 would deter him and others from such conduct in the future.

                COUNT III- FALSE ARREST/FALSE IMPRISONMENT (MCKINNEY)

           COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend ofK.C.R., by and

 through her undersigned counsel, and sues Defendant JONATHAN MCKINNEY, individually

 (hereinafter referred to as "McKinney"), and herein seeks damages and for any other and further

 relief as this Court deems just and proper, and states as follows:

           65.       This is a cause of action for false arrest/false imprisonment and detention against

 McKinney for damages in excess of Fifteen Thousand and 00/100 Dollars ($15,000.00).

           66.       Plaintiff realleges the allegations contained in paragraphs 1, 3, 5, 6, 7, and 9

 through 5 I as if fully set f011h herein.

           67.       On or about October 14, 2013, McKinney caused Plaintiff to be deprived of her

 freedom and libetiy and restrained in her movements at the scene of her arrest and detention and

 continuing until she was released from custody.

           68.       The restraint of Plaintiff was caused by McKinney and was unlawful.

               69.   As a direct and proximate cause of McKinney's actions, Plaintiff was illegally

 detained and arrested and was forced to be incarcerated and suffered all consequences of the

 wrongful arrest.

               70.   As a direct result of McKinney's actions, Plaintiff has suffered damages. As a

 direct result of said arrest, Plaintiff has suffered damages which include physical suffering,

 physical inconvenience, physical discomfort and pain, loss of time, mental suffering,

 embarrassment, humiliation, disgrace and injury to her feelings and reputation, the emotional and

 physical aspects of which are continuing to this day and are likely to continue into the future.




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          71.       The actions of McKinney were done in bad faith, with malice and in reckless

disregard for the rights of Plaintiff.

          WHEREFORE, for the foregoing reasons, Plaintiff, ROSEANN GILL, as Parent and

Next Friend of K.C.R., respectfully requests this Court to enter Judgment against Defendant,

JONATHAN MCKINNEY, individually.                  Further, Plaintiff, ROSEANN GILL, as Parent and

Next Friend of K.C.R., seeks an award of punitive damages to punish Defendant, JONATHAN

MCKINNEY, individually, for his conduct, which would deter him and others from such

conduct in the future.

                         COUNT IV- MALICIOUS PROSECUTION (JUDD)

          COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend ofK.C.R., by and

through her undersigned counsel, and sues Defendant, GRADY JUDD, individually (hereinafter

referred to as "Judd"), and in support thereof states as follows:

          72.       This is a cause of action for malicious prosecution against Judd and for damages

in excess ofFifteen Thousand and 00/100 Dollars ($15,000.00).

              73.   Plaintiff realleges the allegations contained in paragraphs I, 2, 5, 6, 7 and 9

through 51 as if fully set forth herein.

              74.   Judd owed a duty of care to the citizemy in general, and specifically, in this case,

he owed a duty of care to Plaintiff.

              75.   On October 14, 2013 and thereafter, Judd with malicious purpose caused a

prosecution and continued prosecution to be instituted against Plaintiff.

              76.   Said prosecution was instituted without probable cause by Judd, and the facts

known by him would not have warranted a reasonable person to believe that any criminal offense

had been committed by Plaintiff.




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          77.       There was absence of probable cause to arrest and prosecute Plaintiff and for the

continued prosecution against Plaintiff.

          78.       In November 2013, the prosecution against Plaintiff was terminated in favor of

Plaintiff on the merits. The termination of the prosecution constituted a bona fide termination of

those proceedings in favor of Plaintiff.

          79.       Judd acted maliciously and in bad faith against the Plaintiff at all times mentioned

herein. No prosecution or continued prosecution of Plaintiff would have occUlTed but for the

actions of Judd.

              80.   As a direct result of Judd's actions, Plaintiff has suffered damages, which include

physical inconvenience, physical discomfort and pain, physical suffering, loss of time, mental

suffering, embarrassment, humiliation, disgrace and injury to her feelings and reputation, the

physical and emotional aspects of which are continuing to this day and are likely to continue in

the future. Plaintiff also suffered damages as the result of being forced to hire counsel and incur

attorney's fees and costs to defend the prosecution.

              WHEREFORE, for the foregoing reasons, Plaintiff, ROSEANN GILL, as Parent and

Next Friend of K.C.R., respectfully requests this Court to enter Judgment against Defendant,

GRADY JUDD, individually, for damages and costs and expenses incurred in defending the

prosecution and for such other and further relief as this Court deems just and proper under the

circumstances.        Further, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R,

individually, seeks an award of punitive damages to punish Defendant, GRADY JUDD,

individually, for his conduct, which would deter him and others from such conduct in the future.

                      COUNT V- MALICIOUS PROSECUTION (MCKINNEY)

              COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend ofK.C.R., by and




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through her undersigned counsel, and sues Defendant, JONATHAN MCKINNEY (hereinafter

referred to as "McKinney"), and in support thereof states as follows:

           81.       This is a cause of action for malicious prosecution against McKinney and for

damages in excess of Fifteen Thousand and 00/100 Dollars ($15,000.00).

           82.       Plaintiff realleges the allegations contained in paragraphs 1, 3, 5, 6, 7 and 9

through 51 as if fully set f01ih herein.

           83.       McKinney owed a duty of care to the citizenry in general, and specifically, in this

case, he owed a duty of care to Plaintiff.

               84.   On October 14, 2013 and thereafter, McKinney with malicious purpose caused a

prosecution and continued prosecution to be instituted against Plaintiff.

               85.   Said prosecution was instituted without probable cause by McKinney, and the

facts known by him would not have warranted a reasonable person to believe that any criminal

offense had been committed by Plaintiff.

               86.   There was absence of probable cause to arrest and prosecute Plaintiff and for the

continued prosecution against Plaintiff.

               87.   In November 2013, the prosecution against Plaintiff was terminated in favor of

 Plaintiff on the merits. The termination of the prosecution constituted a bona fide termination of

those proceedings in favor of Plaintiff.

               88.   McKinney acted maliciously and in bad faith against the Plaintiff at all times

 mentioned herein. No prosecution or continued prosecution of Plaintiff would have occurred but

 for the actions ofMcKinncy.

               89.   As a direct result of McKinney's actions, Plaintiff has suffered damages, which

 include physical inconvenience, physical discomfort and pain, physical suffering, loss of time,




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mental suffering, embarrassment, humiliation, disgrace and injury to his feelings and reputation,

the physical and emotional aspects of which are continuing to this day and are likely to continue

 in the future. Plaintiff also suffered damages as the result of being forced to hire counsel and

 incur attorney's fees and costs to defend the prosecution.

           WHEREFORE, for the foregoing reasons, Plaintiff, ROSEANN GILL, as Parent and

Next Friend of K.C.R., respectfully requests this Court to enter judgment against Defendant,

JONATHAN MCKINNEY, individually, for damages and costs in the prosecution of this matter,

 expenses incurred in defending the prosecution and for such other and further relief as this Court

 deems just and proper under the circumstances. Further, Plaintiff, ROSEANN GILL, as Parent

 and Next Friend of K.C.R., seeks an award of punitive damages to punish Defendant,

 JONATHAN MCKINNEY, for his conduct, which would deter him and others from such

 conduct in the future.

                             COUNT VI- INVASION OF PRIVACY (JUDD)

               COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend ofK.C.R., by and

 through her undersigned counsel, and sues Defendant, GRADY JUDD (hereinafter referred to as

 "Judd") and in support therefore states as follows:

               90.   This is a cause of action for violation of right to privacy against Judd and for

 damages in excess ofFifteen Thousand and 00/100 Dollars ($15,000.00).

               91.   Plaintiff realleges the allegations contained in paragraphs 1, 2, 5, 6, 7 and 9

 through 51 above as if fully set forth herein.

               92.   There is a cause of action for invasion of privacy.

               93.   Plaintiff has a right to be let alone and free from intrusion into her life.




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          94.       Judd intruded into Plaintiffs personal solitude and seclusion. Judd also published

private facts about Plaintiff that were unjustified.

          95.       The actions of Judd were done in bad faith and with malicious purpose and in a

manner exhibiting wanton and willful disregard of the human rights, safety and property of

Plaintiff.

          96.       As a result of the actions of Judd, Plaintiff has suffered damages, including

emotional anguish and suffering, all of which continue to this day and are likely to continue into

the future.

          WHEREFORE, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R.,

respectfully requests this Court to take jurisdiction of this cause and the patties of this action and

enter an award of damages against Defendant, GRADY JUDD, individually, for all damages,

and such other and further relief as this Court deems just and proper. Further Plaintiff seeks an

award of punitive damages to punish Defendant, GRADY JUDD, for his conduct, which would

deter him and others from such conduct in the future.

                           COUNT VII -INVASION OF PRIVACY (PCSO)

              COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R., by and

through her undersigned counsel, and sues Defendant, POLK COUNTY SHERIFF'S OFFICE

(hereinafter referred to as "PCSO") and in support therefore states as follows:

              97.   This is a cause of action for invasion of privacy against PCSO and for damages in

excess of Fifteen Thousand and 00/100 Dollars ($15,000.00).

              98.   Plaintiff realleges the allegations contained in paragraphs 1, 4 and 5 through 51

above as if fully set forth herein.




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           99.        Plaintiff is guaranteed the right to privacy and the right to be let alone and free

 from governmental intrusion into her private life.

               100.   On October 14,2013, the actions of employees and agents ofPCSO, acting within

 the course and scope of their employment, did violate Plaintiff's right to privacy. PCSO arrested

 Plaintiff and held press conferences as to the arrest and published private facts about Plaintiff

 that were unjustified and all without probable cause that Plaintiff had committed any crime.

               101.   As a result of the actions of the agents and employees of PCSO, Plaintiff has

 suffered damages, including emotional anguish and suffering, all of which continue to this day

 and are likely to continue into the future.

           WHEREFORE, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R.,

 respectfully requests this Court to enter a judgment against Defendant, POLK COUNTY

 SHERIFF'S OFFICE, for all damages and for such other and further relief as this Court deems

just and proper under the circumstances.

    COUNT VIII- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (JUDD)

               COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R., by and

 through her undersigned counsel, and sues Defendant, GRADY JUDD, individually (hereinafter

 referred to as "Judd") and in support therefore states as follows:

               102.   This is a cause of action for intentional infliction of emotional distress against

 Judd and for damages in excess of Fifteen Thousand and 00/100 Dollars ($15,000.00).

               103.   Plaintiff realleges the allegations contained in paragraphs 1, 2, 5, 6, 7 and 9

 through 51 above as if fully set forth herein.

               104.   Judd owed a duty of care to the citizenry in general, and specifically in this case,

 owed a duty of care to Plaintiff.




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              I 05.   Judd caused Plaintiff to be unduly incarcerated, charged with a felony, caused her

photograph to be published worldwide and subjected her to undue prosecution. Judd purposely

held press conferences where he defamed Plaintiff and accused her of being a murderer all for

his personal benefit and publicity and all without probable cause to believe Plaintiff had

committed a crime.

              I 06.   Judd knew or should have known that the aforementioned acts would result in

severe emotional distress to Plaintiff, a minor. Judd acted with bad faith or with malicious

purpose.

              I 07.   Judd intended his behavior and knew or should have known the emotional distress

that was likely to result.

              I 08.   Judd's conduct was outrageous, beyond all bounds of decency, atrocious and

utterly intolerable in a civilized community. The conduct caused Plaintiff severe emotional

distress.

          WHEREFORE, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R.,

respectfully request this Court to enter a judgment against Defendant, GRADY JUDD,

individually, for all damages and for such other and further relief as this Court deems just and

proper under the circumstances. Plaintiff fmther seeks an award of punitive damages to punish

Defendant, GRADY JUDD, for his conduct, which would deter him and others from such

conduct in the future.

                                       COUNT IX- 42 U.S.C. §1983 (JUDD)

              COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R.,

(hereinafter referred to as "Plaintiff'') by and through her undersigned counsel, and sues




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 Defendant, GRADY JUDD, individually (hereinafter referred to as "Judd") and in support

 thereof states as follows:

               109.   This is a cause of action for violation of civil rights under 42 U.S.C. §1983

 against Judd.

               110.   Plaintiff realleges the allegations contained in paragraphs 1, 2, 5, 6, 7 and 9

 through 51 above as if fully set forth herein.

               111.   Plaintiff has the right under the Constitution of the United States to be secure

 from unlawful searches or unlawful restraint of her person and liberty, which may be restricted

 only upon due process of law under the Fourth and Fourteenth Amendments of the United States

 Constitution.

               112.   On October 14, 2013, Judd, under the color of law and as an employee of the

 PCSO, deprived Plaintiff of her rights under the United States Constitution, in violation of 42

 U.S.C. § 1983, in that, without probable cause or arguable probable cause that Plaintiff had

 committed a violation of law, caused Plaintiff to be arrested and deprived of her liberty thereby

 causing Plaintiff physical and emotional pain and suffering, all in direct violation of the United

 States Constitution.

               113.   The primary, obvious, and sole purpose of the illegal and wrongful detention of

 Plaintiffs person was to deprive and infi'inge upon Plaintiffs constitutional rights. As a result,

 Plaintiff was deprived of her rights under the Fourth and Fourteenth Amendments to the United

 States Constitution. Violation of these rights entitles Plaintiff to an award of damages for loss of

 those rights and for all damages that resulted therefrom.

               114.   Judd knew that his actions would deprive Plaintiff of her constitutional rights, but

 proceeded with the unlawful actions with willfi.Jl disregard for the consequences of his actions.




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               115.   Judd took the actions complained of with the knowledge that his actions were in

 direct violation of the United States Constitution and the rights of Plaintiff. The acts of Judd

 violated clearly established constitutional rights of Plaintiff, the rights of which every reasonable

 member of the public or governmental entity should have known.

               116.   Judd had no probable cause or arguable probable cause to believe that Plaintiff

 had committed any crime and had no probable cause or arguable probable cause to detain, seize,

 search and otherwise violate Plaintiffs constitutional rights.

               117.   As a direct result of the actions of Judd, Plaintiff has suffered damages which

 include physical inconvenience, physical discomfort and pain, physical suffering, loss of time,

 mental suffering, embarrassment, humiliation, disgrace and injury to her feelings and reputation,

 the physical and emotional aspects of which are continuing to this day and are likely to continue

 in the future and all other damages associated with the violation of Plaintiffs constitutional

 rights, which exist to this day and which emotional suffering and damage is likely to continue in

 the fiJture.

               118.   Plaintiff also suffered damage as a result of this loss of her constitutional rights as

 more specifically identified above.

               119.   P1aintiffhas retained the undersigned counsel to bring this action under 42 U.S.C.

 §1983, is entitled to recover from Judd a reasonable fee for said counsel pursuant to 42 U.S.C.

 § 1988.

               WHEREFORE, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R.,

 respectfully requests this Court to take jurisdiction of this cause and the parties of this action and

 enter an award of damages against Defendant, GRADY JUDD, and to award Plaintiff her

 attorneys' fees and costs pursuant to 42 U.S.C. §1988 and other applicable laws.                   Further,




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 Plaintiff seeks an award of punitive damages to punish Defendant, GRADY JUDD, for his

 conduct which would deter him and others from such conduct in the future.

                                COUNT X- 42 U.S.C. §1983 (MCKINNEY)

           COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend ofK.C.R., by and

 through her undersigned counsel, and sues Defendant, JONATHAN MCKINNEY (hereinafter

 referred to as "McKinney") and in support thereof states as follows:

               120.   This is a cause of action for violation of civil rights under 42 U.S.C. § 1983

 against McKinney.

               121.   Plaintiff realleges the allegations contained in paragraphs I, 3, 5, 7, 7 and 9

 tln·ough 51 above as if fully set fotih herein.

               122.   Plaintiff has the right under the Constitution of the United States to be secure

 from unlawful searches or unlawful restraint of her person and liberty, which may be restricted

 only upon due process of law under the Fomih and Fourteenth Amendments of the United States

 Constitution.

               123.   On October 14, 2013, McKitmey, under the color of law and as an employee of

 the PCSO, deprived Plaintiff of her rights under the United States Constitution, in violation of 42

 U.S.C. § 1983, in that, without probable cause or arguable probable cause that Plaintiff had

 committed a violation of law, caused Plaintiff to be arrested and of her liberty thereby causing

 Plaintiff physical and emotional pain and suffering, all in direct violation of the United States

 Constitution.

               124.   The primary, obvious, and sole purpose of the illegal and wrongful detention, and

 search of Plaintiffs person was to deprive and infringe upon Plaintiffs constitutional rights. As a

 result, Plaintiff was deprived of her rights under the Fourth and Fourteenth Amendments to the




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 United States Constitution. Violation of these rights entitles Plaintiff to an award of damages for

 loss of those rights and for all damages that resulted therefrom.

            125.      McKinney knew that his actions would deprive Plaintiff of her constitutional

 rights, but proceeded with the unlawful actions with willful disregard for the consequences of his

 actions.

            126.      McKinney took the actions complained of with the knowledge that his actions

 were in direct violation of the United States Constitution and the rights of Plaintiff. The acts of

 McKinney violated clearly established constitutional rights of Plaintiff, the rights of which every

 reasonable member of the public or governmental entity should have known.

            127.      McKinney had no probable cause or arguable probable cause to believe that

 Plaintiff had committed any crime and had no probable cause or arguable probable cause to

 detain, seize, search and otherwise violate Plaintiff's constitutional rights. Further, McKinney

 made false statements, which caused Plaintiff's rights to be violated.

            128.      As a direct result of the actions of McKinney, Plaintiff has suffered damages

 which include physical inconvenience, physical discomfort and pain, physical suffering, loss of

 time, mental suffering, embarrassment, humiliation, disgrace and injury to her feelings and

 reputation, the physical and emotional aspects of which are continuing to this day and are likely

 to continue in the future.

               129.   Plaintiff also suffered damage as a result of this loss of her constitutional rights as

 more specifically identified above.

               130.   Plaintiff has retained the undersigned counsel to bring this action under 42 U.S.C.

 §1983, is entitled to recover from McKinney a reasonable fee for said counsel pursuant to 42

 u.s. c. §1988.


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               WHEREFORE, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R.,

 respectfully requests this Court to take jurisdiction of this cause and the parties of this action and

 enter an award of damages against Defendant, JONATHAN MCKINNEY, and to award Plaintiff

 her attorneys' fees and costs pursuant to 42 U.S.C. § 1988 and other applicable laws. Further,

 Plaintiff seeks an award of punitive damages to punish Defendant, JONATHAN MCKINNEY,

 for his conduct which would deter him and others from such conduct in the future.

                                     COUNT XI- 42 U.S. §1983 (PCSO)

               COMES NOW, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R., by and

 through her undersigned counsel, and hereby sues Defendant, GRADY JUDD, in his official

 capacity as the Sheriff of Polk County (hereinafter referred to as "PCSO"), and in support thereof

 states as follows:

               131.   This is a cause of action for violation of civil rights under 42 U.S.C. §1983

 against PCSO.

               132.   Plaintiff realleges the allegations contained in paragraphs 1, 4, 5, 6, 7 and 9

 through 51 above as iffully set forth herein.

               133.   Plaintiff has a right to be free from unreasonable searches and seizures of her

 person and property, under the Fomth and Fomteenth Amendments to the United States

 Constitution and to be secure that no search or restraint of her person shall occur except upon

 due process of law.

               134.   Plaintiff has the right to be free from violations to her constitutional rights.

               135.   On or about October 14, 2013, PCSO, through its employees and agents acting in

 the scope of their employment, under color of law, deprived Plaintiff of her rights under the

 United States Constitution, in violation of 42 U.S.C. § 1983, in that, without probable cause that




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 Plaintiff had committed a violation of any law, illegally arrested Plaintiff and caused Plaintiff to

 be deprived of her libet1y, thereby causing Plaintiff physical and emotional pain and suffering.

           136.       Further, PCSO acted with the deliberate indifference to the constitutional rights of

 Plaintiff as a result of having either no policy in place or a policy that permitted the wrongful

 detention and/or arrest of Plaintiff and the violation of her constitutional rights. Further, the

 arrest was coordinated by and ordered by Sheriff Judd who is the final policy maker of the

 PCSO.

               137.   PCSO had a custom and policy that permitted, encouraged, condoned, and ratified

 the violation of Plaintiff's constitutional rights.

               138.   The actions of PCSO, as well as other employees and/or agents of PCSO were

 done pursuant to the customs and practices of the PCSO and with the authorization and direction

 of its final policy maker Sheriff Judd.

               139.   PCSO failed to properly train and demonstrated a deliberate indifference by

 failing to train its officers in the guidelines required for maintaining proper seizures and arrests

 of citizens.

               140.   The employees of PCSO had inadequate training in the constitutional rights

 guaranteed by the United States Constitution and in the requirements for an arrest by aggravated

 stalking. PCSO had made stalking a priority and proclaimed it should be eliminated in Polk

 County, Florida. Thus, there was an obvious need for training in this area and Defendant PCSO

 made a deliberate choice not to train or properly supervise deputies in this area.

               141.   The acts of the employees of PCSO were a direct and proximate result of the

 failure of PCSO to train its officers and in the final policy decision of Defendant Judd and

 Defendant PCSO.




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               142.   PCSO, through its final decision maker Sheriff Judd, directly under color of law,

 directed, approved, ratified and ordered the unlawful and deliberate conduct of PCSO as

 described above and was involved in and made the decision to arrest Plaintiff.

               143.   As a direct and proximate result cause of the actions of PCSO, Plaintiff has

 suffered damages including physical pain and suffering, emotional anguish and damages which

 include physical inconvenience, physical discomfort and pain, physical suffering, loss of time,

 mental suffering, embarrassment, humiliation, disgrace and injury to her feelings and reputation,

 the physical and emotional aspects of which are continuing to this day and are likely to continue

 in the future.

               144.   Plaintiff also suffers as a result of the loss of her constitutional rights.

               145.   Plaintiff has retained the services of the undersigned counsel to bring this action

 under 42 U.S.C. § 1983, and is entitled to recover from PCSO a reasonable fee for said counsel

 pursuant to 42 U.S.C. § 1988.

           WHEREFORE, Plaintiff, ROSEANN GILL, as Parent and Next Friend of K.C.R.,

 respectfully requests this Court to take jurisdiction of this cause and the parties to this action, and

 to enter an award of all damages against Defendant, POLK COUNTY SHERIFF'S OFFICE, and

 to award attorneys' fees and costs pursuant to 42 U.S.C. § 1988, and other applicable laws.

                                             DEMAND FOR JURY TRIAL

               Pursuant to Rule 1.430(b), Fla.R.Civ.P., Plaintiff, ROSEANN GILL, as Parent and Next

 Friend ofK.C.R., demands trial by jury on all issues so triable.

                                         CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on May 22, 2015, I electronically filed the foregoing with

 the Clerk of the Court via the CMIECF system, which will send a notice of electronic filing to:

 JONATHAN B. TROHN, Esquire (i.trohn@vctta.com) and HANK B. CAMPBELL, Esquire


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